        Case 2:09-cr-00206-GEB Document 60 Filed 03/08/11 Page 1 of 1


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 4
     Attorney for LEOBARDO OLAZABAL CARRANZA
 5
                                UNITED STATES DISTRICT COURT
 6
                               EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,             )                  2:09-CR-206-GEB
                                           )
 9                        Plaintiff,       )                  STIPULATION AND
                                           )                  PROPOSED ORDER
10   vs.                                   )                  TO CONTINUE
                                           )                  JUDGMENT AND SENTENCE
11   LEOBARDO OLAZABAL CARRANZA,           )
                                           )
12                        Defendant.       )
     _____________________________________ )
13
            Defendant Leobardo Olazábal Carranza, through his appointed counsel, Gilbert A.
14
     Roque, and the United States of America, through Assistant United States Attorney Daniel S.
15
     McConkie, agree that the Judgment and Sentence Hearing set for March 11, 2011, at 9:00
16
     a.m., be continued to April 1, 2011, at 9:00 a.m., in the courtroom of the Honorable Garland
17
     E. Burrell, Jr. The continuance is necessary to resolve some pending safety valve issues.
18
           In addition, it is agreed that the Court should find excludable time through April 1, 2011,
19
     pursuant to Local Rule T-4, for continued attorney preparation.
20
                                               Respectfully submitted,
21
     DATED: March 4, 2011                      /s/ Gilbert A. Roque
22                                             GILBERT A. ROQUE, Attorney for
                                               LEOBARDO OLAZABAL CARRANZA, Defendant
23
24   DATED: March 4, 2011                      /s/ Daniel S. McConkie
                                               DANIEL S. McCONKIE
25                                             Assistant United States Attorney
26         IT IS SO ORDERED.
27   DATED: March 7, 2011
28
                                             ________________________________________
                                             GARLAND E. BURRELL, JR.
                                             United States District Judge
